      Case 4:20-cv-03033-JST Document 127-1 Filed 03/14/24 Page 1 of 41




 1                         LAW OFFICES OF

     WALKUP, MELODIA, KELLY & SCHOENBERGER
 2
                     A PROFESSIONAL CORPORATION

                  650 CALIFORNIA STREET, 26TH FLOOR
 3             SAN FRANCISCO, CALIFORNIA 94108-2615
               T: (415) 981-7210 · F: (415) 391-6965

 4
   MICHAEL A. KELLY (State Bar #71460)
 5 mkelly@walkuplawoffice.com
   RICHARD H. SCHOENBERGER (State Bar #122190)
 6 rschoenberger@walkuplawoffice.com
   MATTHEW D. DAVIS (State Bar #141986)
 7 mdavis@walkuplawoffice.com
   ASHCON MINOIEFAR (State Bar #347583)
 8 aminoiefar@walkuplawoffice.com

 9 SHANIN SPECTOR (Pennsylvania State Bar No. 40928)
   (Pro Hac Vice Application Pending)
10 shanin.specter@klinespecter.com
   ALEX VAN DYKE (CA State Bar No. 340379)
11 alex.vandyke@klinespecter.com
   KLINE & SPECTER, P.C.
12 1525 Locust Street
   Philadelphia, PA 19102
13 Telephone: (215) 772-1000
   Facsimile: (215) 772-1359
14
     ATTORNEYS FOR ALL PLAINTIFFS
15
                                      UNITED STATES DISTRICT COURT
16
         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
17

18
   JANE ROE, an individual; MARY ROE,                      Case No. 3:24-cv-01562-DMR
19 an individual; SUSAN ROE, an
   individual; JOHN ROE, an individual;                    DECLARATION OF MATTHEW D.
20 BARBARA ROE, an individual;                             DAVIS IN SUPPORT OF
   PHOENIX HOTEL SF, LLC, a                                PLAINTIFFS' ADMINISTRATIVE
21 California limited liability company;                   MOTION TO CONSIDER WHETHER
   FUNKY FUN, LLC, a California limited                    CASES SHOULD BE RELATED
22 liability company; and 2930 EL
   CAMINO, LLC, a California limited
23 liability company,

24                                    Plaintiffs,

25        v.

26 CITY AND COUNTY OF SAN
   FRANCISCO, a California public entity,
27
                       Defendants.
28
                                                       1
      DEC OF MATTHEW D. DAVIS ISO PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER
                         WHETHER CASES SHOULD BE RELATED
     Case 4:20-cv-03033-JST Document 127-1 Filed 03/14/24 Page 2 of 41




 1        I, Matthew D. Davis, declare as follows:

 2        1.     I am an attorney duly admitted to practice before this Court. I am a

 3 partner with Walkup, Melodia, Kelly & Schoenberger, attorneys of record for All

 4 Plaintiffs. I have personal knowledge of the facts set forth herein, and if called as a

 5 witness, I could and would competently testify thereto. I make this declaration based

 6 in support of Plaintiffs Administrative Motion to Consider Whether Cases Should Be

 7 Related.

 8        2.     Attached hereto as Exhibit A is a true and correct copy of the complaint
 9 Jane Roe, et al. v. City and County of San Francisco, (Case No. 3:24-cv-01562-DMR),

10 (“Jane Roe”), filed on March 14, 2024.

11        3.     I communicated with the San Francisco City Attorney’s office about

12 whether the City would join or oppose the motion. That office informed me that it

13 would have to review the motion before a decision could be made.

14        I declare under penalty of perjury under the laws of the United States of

15 America that the foregoing is true and correct to the best of my knowledge.

16        Executed on this 14th day of March, 2024, at San Francisco, California.

17

18
                                       By:       /S/ Matthew D. Davis
19
                                             MATTHEW D. DAVIS
20

21

22

23

24

25

26

27

28
                                               2
      DEC OF MATTHEW D. DAVIS ISO PLAINTIFFS' ADMINISTRATIVE MOTION TO CONSIDER
                         WHETHER CASES SHOULD BE RELATED
Case 4:20-cv-03033-JST Document 127-1 Filed 03/14/24 Page 3 of 41




                 EXHIBIT A
      CaseCase
           4:20-cv-03033-JST
               3:24-cv-01562 Document 1
                                      127-1
                                        FiledFiled
                                              03/14/24
                                                   03/14/24
                                                         PagePage
                                                              1 of 38
                                                                   4 of 41




 1                         LAW OFFICES OF

     WALKUP, MELODIA, KELLY & SCHOENBERGER
 2
                     A PROFESSIONAL CORPORATION

                  650 CALIFORNIA STREET, 26TH FLOOR
 3             SAN FRANCISCO, CALIFORNIA 94108-2615
               T: (415) 981-7210 · F: (415) 391-6965

 4
   MICHAEL A. KELLY (Ca. State Bar #71460)
 5 mkelly@walkuplawoffice.com
   RICHARD H. SCHOENBERGER (Ca. State Bar #122190)
 6 rschoenberger@walkuplawoffice.com
   MATTHEW D. DAVIS (Ca. State Bar #141986)
 7 mdavis@walkuplawoffice.com
   ASHCON MINOIEFAR (Ca. State Bar #347583)
 8 aminoiefar@walkuplawoffice.com

 9
     SHANIN SPECTER, (Pennsylvania State Bar No. 40928)
10    shanin.specter@klinespecter.com
      (Pro Hac Vice Application Pending)
11   ALEX VAN DYKE (Ca. State Bar No. 340379)
      Alex.VanDyke@klinespecter.com
12   KLINE & SPECTER, P.C.
     1525 Locust Street
13   Philadelphia, PA 19102
     Telephone: (215) 772-1000
14   Facsimile: (215) 772-1359

15 ATTORNEYS FOR ALL PLAINTIFFS

16                                    UNITED STATES DISTRICT COURT

17        NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

18

19 JANE ROE, an individual; MARY ROE,                      Case No.
   an individual; SUSAN ROE, an
20 individual; JOHN ROE, an individual;                    COMPLAINT FOR INJUNCTIVE
   BARBARA ROE, an individual;                             AND EQUITABLE RELIEF
21 PHOENIX HOTEL SF, LLC, a California
   limited liability company; FUNKY FUN,
22 LLC, a California limited liability
   company; and 2930 EL CAMINO, LLC, a
23 California limited liability company,

24                                    Plaintiffs,

25        v.

26 CITY AND COUNTY OF SAN
   FRANCISCO, a California public entity,
27
                       Defendant.
28

                                                       1
                            COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           2 of 38
                                                                                                5 of 41




                               1                                  I. INTRODUCTION

                               2        1.     The Tenderloin neighborhood lies in the heart of San Francisco,
                               3 bounded on the north by Geary Street, on the east by Mason Street, on the south by

                               4 Market Street, and on the west by Polk Street.

                               5        2.     The Tenderloin has been a downtown residential community since
                               6 shortly after the California Gold Rush in 1849. It was among the first districts in San

                               7 Francisco to be integrated, and to this day remains culturally, racially, economically,

                               8 and ethnically diverse.

                               9        3.     Many families call the Tenderloin their home. Over 3,000 children live
                          10 there, more per capita than almost any other district in San Francisco.

                          11            4.     Living in the Tenderloin is affordable compared to other San Francisco
                          12 neighborhoods. Many residents work in the service industry and earn low, hourly

                          13 wages. Many are disabled or are senior citizens who must get by on fixed incomes.

                          14            5.     The Tenderloin has also been a place where entrepreneurs with little
                          15 capital, from the hardworking owner of a sandwich shop to the operator of a boutique

                          16 hotel, can start a business.

                          17            6.     Plaintiffs are residents of and stakeholders in the Tenderloin. Today,
                          18 they and others who live, go to school, work or run a business in that district face an

                          19 existential crisis caused by defendant City and County of San Francisco’s treatment

                          20 of their neighborhood as a “containment zone” for narcotic activities. For years, the

                          21 de facto policy of the City has been to corral and confine illegal drug dealing and

                          22 usage, and the associated injurious behaviors, to the Tenderloin. The City tries to

                          23 keep such crimes and nuisances out of other San Francisco neighborhoods by

                          24 “containing” them in the Tenderloin.

                          25            7.     The City’s acts and omissions have harmed and damaged each plaintiff
                          26 by causing the public sidewalks and spaces around their homes and businesses to

                          27 become dangerous, impassable and unsanitary. However, plaintiffs do not seek to

                          28 recover money damages from the City in this lawsuit. Rather, they bring this action
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            2
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                    COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           3 of 38
                                                                                                6 of 41




                              1 to stop the City from treating the Tenderloin as a containment zone. Plaintiffs sue to

                              2 force the City to comply with its responsibility to ensure that their neighborhood’s

                              3 sidewalks and public spaces are clean, safe and accessible, and to treat them and

                              4 their neighbors fairly and equitably.

                              5         8.    While plaintiffs are currently unaware of any writing that formally

                              6 codifies the City’s containment zone policy, it is undisputable that for years the City

                              7 has known that drug dealers brazenly sell narcotics on the streets and sidewalks in

                              8 the Tenderloin. Similarly, for years the City has allowed individuals to openly buy

                              9 and use narcotics in the Tenderloin, and to remain, under the obvious influence of

                         10 drugs, on the sidewalks and public spaces of the neighborhood.

                         11             9.    Over the past approximate six years, fentanyl and other potent, highly

                         12 addictive, and deadly synthetic opiates have come to dominate the narcotics market

                         13 in the Tenderloin. 1 Fentanyl’s “effects include extreme happiness, drowsiness,

                         14 nausea, confusion, constipation, sedation, tolerance, addiction, respiratory depression

                         15 and arrest, unconsciousness, coma, and death…. People addicted to fentanyl who

                         16 stop using it can have severe withdrawal symptoms that begin as early as a few

                         17 hours after the drug was last taken. These symptoms include: muscle and bone pain;

                         18 sleep problems; diarrhea and vomiting; cold flashes with goose bumps; uncontrollable

                         19 leg movements; [and] severe cravings. These symptoms can be extremely

                         20 uncomfortable….” 2 Fentanyl addicts engage in “compulsive drug seeking and use

                         21 despite adverse consequences,” 3 such as refusing treatment, losing employment,

                         22 alienating and breaking contact with family and friends, living on the streets,

                         23

                         24       1 https://www.sfchronicle.com/projects/san-francisco-drug-overdose-

                   25 deaths/#:~:text=In%20recent%20years%2C%20that%20epidemic,to%20address%20th
                       e%20escalating%20epidemic.
                   26 2 https://nida.nih.gov/publications/drugfacts/fentanyl
                       3 See https://nida.nih.gov/publications/drugs-brains-behavior-science-addiction/drug-
                   27 misuse-

                   28 addiction#:~:text=Addiction%20is%20defined%20as%20a,stress%2C%20and%20self%
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
                       2Dcontrol.
  & SCHOENBERGER
                                                                            3
 A PROFESSIONAL CORPORATION
  650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
        26TH FLOOR
 SAN FRANCISCO, CA 94108
      (415) 981-7210
                                    CaseCase
                                         4:20-cv-03033-JST
                                             3:24-cv-01562 Document 1
                                                                    127-1
                                                                      FiledFiled
                                                                            03/14/24
                                                                                 03/14/24
                                                                                       PagePage
                                                                                            4 of 38
                                                                                                 7 of 41




                               1 ignoring personal hygiene, and resorting to crime to support their habit.

                               2         10.    The City’s de facto containment zone policy effectively herds fentanyl

                               3 users into the Tenderloin, where they can easily buy fentanyl and openly get high. 4

                               4 Once there, they quickly learn that the City and others will provide “support” if they

                               5 live on that neighborhood’s streets, with some organizations going so far as to deliver

                               6 drug kits to their sidewalk encampments. As a foreseeable consequence of their

                               7 disease, fentanyl addicts opt to live on the Tenderloin’s sidewalks, as opposed to, for

                               8 example, undergoing treatment in a structured residential setting.

                               9         11.    Addicts living on the Tenderloin’s streets foreseeably support their habit

                          10 by stealing (e.g., shoplifting, car break-ins, burglaries, robberies) and hawking the

                          11 stolen merchandise on the sidewalks. As their disease progresses, their mental and

                          12 physical health declines, resulting in them acting erratically, ignoring serious

                          13 medical problems (e.g., open sores at injection sites), rummaging through trash,

                          14 discarding garbage on the sidewalk around them, going partially clothed, and

                          15 defecating in public.

                          16             12.    Those who deal fentanyl and other deadly narcotics know that the City

                          17 treats the Tenderloin as a containment zone. They thus flock to the neighborhood

                          18 and blatantly sell drugs to the addicts living on the sidewalks. The City knows that

                          19 the fentanyl dealers who operate in the Tenderloin belong to competing gangs, and

                          20 that they use intimidation, threats and violence to protect their market.

                          21             13.    Drug dealers not only sell narcotics to the addicts who the City allows to

                          22 live on the sidewalks, but they take advantage of the City’s attitude about the

                          23 Tenderloin in other ways. For example, to avoid law enforcement consequences,

                          24 dealers recruit addicts to stash narcotics in their encampments, and to function as

                          25 go-betweens in drug transactions.

                          26             14.    There is no therapeutic benefit to, and nothing compassionate about,

                          27
                                   4 Even more pernicious illegal narcotics are emerging. See, e.g.,
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
                                   https://www.dea.gov/alert/dea-reports-widespread-threat-fentanyl-mixed-xylazine
  & SCHOENBERGER
                                                                              4
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                    CaseCase
                                         4:20-cv-03033-JST
                                             3:24-cv-01562 Document 1
                                                                    127-1
                                                                      FiledFiled
                                                                            03/14/24
                                                                                 03/14/24
                                                                                       PagePage
                                                                                            5 of 38
                                                                                                 8 of 41




                               1 allowing and enabling someone in the throes of addiction to deteriorate on the

                               2 Tenderloin’s streets. But it does render the sidewalks and other public spaces in the

                               3 neighborhood unsanitary, unsafe and inaccessible, causing great harm to the

                               4 residents, local businesses and visitors.

                               5         15.    The City nevertheless prefers that people in the grip of addiction stay on

                               6 the streets of the Tenderloin rather than go to other San Francisco districts, even

                               7 though the City knows that those it herds to Tenderloin will: (a) openly inject and

                               8 smoke narcotics in front of children, seniors and others; (b) roam the neighborhood

                               9 while intoxicated or undergoing withdrawal; (c) block passage of the sidewalks with

                          10 encampments, bulky items and illegal street vending; (d) commit crimes to support

                          11 their habit; and (e) produce garbage, used drug paraphernalia, and human waste

                          12 that will befoul the area.

                          13             16.    As part of its containment zone policy, the City permits throngs of

                          14 people to gather on the Tenderloin’s sidewalks, where they freely sell, buy, and use

                          15 illegal narcotics, fight, commit thefts, and hawk stolen goods. 5 The image below

                          16 shows a McAllister Street sidewalk shortly after midnight.

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28       5 See https://sfstandard.com/2024/03/07/san-francisco-kids-selling-drugs-stolen-goods/
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             5
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           6 of 38
                                                                                                9 of 41




                               1        17.    The City has allowed what is seen above to become the rule, not the

                               2 exception, in the Tenderloin. It is inconceivable that the City would tolerate such

                               3 late-night turmoil in Pacific Heights, the Inner Sunset, Alamo Square, Bernal

                               4 Heights, or Telegraph Hill.

                               5        18.    Foreseeably, the City’s containment zone policy has led to violence in

                               6 the public spaces of the Tenderloin. There have been drug-related murders, stabbings

                               7 and gun battles on the streets and sidewalks.

                               8        19.    In sum, the City-owned public walkways and spaces in the Tenderloin

                               9 are dangerous, unsanitary and no longer open and accessible to plaintiffs and other

                          10 members of the public. The consequences of the containment zone policy to the

                          11 residents of and stakeholders in the Tenderloin have been devastating and constitute

                          12 a violation of their dignity and fundamental civil rights. This is a state-created

                          13 danger. It is both a public and a private nuisance. It has deprived plaintiffs of equal

                          14 protection of the law and of fundamental liberty interests protected by the United

                          15 States and California Constitutions. And it has deprived disabled people, included

                          16 two plaintiffs in this suit, of the full and equal use of the Tenderloin’s sidewalks and

                          17 public spaces.

                          18                               II. JURISDICTION AND VENUE

                          19            20.    Plaintiffs assert the claims herein pursuant to 42 U.S.C. § 1983; the
                          20 Americans with Disabilities Act, 42 U.S.C. §§ 12131 et seq. (the “ADA”); Section 504

                          21 of the Rehabilitation Act of 1973, 29 U.S.C. §§ 794 et seq. (“Section 504”); and the

                          22 Fifth and Fourteenth Amendments of the United States Constitution. This Court has

                          23 jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, 1367, 2201 & 2202.

                          24            21.    This Court has supplemental jurisdiction over plaintiffs’ state law
                          25 claims pursuant to 28 U.S.C. § 1367, as they arise from the same case or controversy

                          26 as plaintiffs’ federal claims.

                          27            22.    Plaintiffs only seek equitable and injunctive relief for their state law
                          28 claims. Accordingly, plaintiffs need not submit a claim with any local public entity
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             6
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                    COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                       4:20-cv-03033-JST
                                            3:24-cv-01562 Document
                                                          Document 127-1
                                                                   1 FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      Page
                                                                                         Page
                                                                                           7 of 10
                                                                                                38 of 41




                               1 pursuant to the California Tort Claims Act, California Government Code §§ 810 et

                               2 seq.

                               3         23.    The acts and omissions complained of herein occurred in the Northern

                               4 District of California. Accordingly, pursuant to 28 U.S.C. § 1391, venue is proper in

                               5 this Judicial District.

                               6                           III. INTRADISTRICT ASSIGNMENT

                               7         24.    The events or omissions that give rise to the claims asserted herein
                               8 occurred within the City and County of San Francisco, and the property that is the

                               9 subject of this action is situated in the City and County of San Francisco.

                          10                                         IV. THE PARTIES
                          11 A.          Plaintiff Jane Roe
                          12
                                         25.    Plaintiff Jane Roe is a pseudonym and not her real name. Submitted
                          13
                                   with this complaint is an application for an order permitting her to use a pseudonym
                          14
                                   to protect her safety and the safety of her family.
                          15
                                         26.    Jane Roe works full-time as a housekeeper. She is married. Her
                          16
                                   husband works full-time as a cook. Both are immigrants. Neither speaks much
                          17
                                   English. They have two daughters, ages 9 and 5. The family lives in an apartment on
                          18
                                   Ellis Street, between Hyde and Larkin, in the center of the Tenderloin. They share
                          19
                                   the apartment with another family with young children.
                          20
                                         27.    Open-air drug deals occur on the sidewalk in front of Jane Roe’s
                          21
                                   apartment building. She describes the drug-dealing as happening “all day, every
                          22
                                   day.” Those involved in narcotics sales block the entrance to her building. The image
                          23
                                   below shows a typical scene, including blatant drug transactions.
                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                               7
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                       4:20-cv-03033-JST
                                            3:24-cv-01562 Document
                                                          Document 127-1
                                                                   1 FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      Page
                                                                                         Page
                                                                                           8 of 11
                                                                                                38 of 41




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13
                                         28.    When Jane Roe enters or leaves her apartment, she encounters drug
                          14
                                   dealers, users openly injecting or smoking narcotics, and people lying on the sidewalk
                          15
                                   who appear unconscious or dead.
                          16
                                         29.    On one occasion, a person in front of Jane Roe’s building threatened to
                          17
                                   cut her throat. On other occasions, people threatened her with knives and hammers.
                          18
                                         30.    People gathered in front of the family’s apartment building sometimes
                          19
                                   start smokey bonfires, using things like old tires, trash, or discarded furniture as
                          20
                                   fuel. One of Jane Roe’s daughters has severe asthma and cannot tolerate smoke. Jane
                          21
                                   Roe has politely asked people in front of the building not to burn things for the sake
                          22
                                   of her daughter’s health. They responded by threatening to kill her. The City does
                          23
                                   nothing to stop the sidewalk fires.
                          24
                                         31.    Encampments and bulky items block the sidewalk in front of Jane Roe’s
                          25
                                   apartment. Habitants of the encampments keep unleashed dogs that bark and growl
                          26
                                   at Jane Roe and her family when they pass. Displays of stolen goods for sale block
                          27
                                   the sidewalk. Trash and biohazards, such as used syringes and feces, litter the area.
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              8
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                       4:20-cv-03033-JST
                                            3:24-cv-01562 Document
                                                          Document 127-1
                                                                   1 FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      Page
                                                                                         Page
                                                                                           9 of 12
                                                                                                38 of 41




                               1 She and her husband and daughters must step into the busy street to bypass these

                               2 hazards, dangers and obstacles.

                               3        32.   The images below depict typical conditions that Jane Doe and her family

                               4 encounter when they go outside.

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                          9
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           10 of13
                                                                                                 38of 41




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28            33.   A mass shooting, believed to be drug related, that left one person dead
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                          10
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           11 of14
                                                                                                 38of 41




                               1 and four injured recently happened near Jane Doe’s home. 6 She rarely sees

                               2 uniformed members of the San Francisco Police Department on foot patrol in the

                               3 neighborhood. When she has seen SFPD officers, she has asked for help with the

                               4 people who have taken over the sidewalks. In response, officers have told her that

                               5 there is nothing they can do because, “the City gives them more protection than you.”

                               6         34.    As an example of how the City treats the Tenderloin as a containment

                               7 zone, the City recently decided to enforce the laws that prohibit illegal street vending

                               8 in the Mission neighborhood. 7 The City has not done the same in the Tenderloin.

                               9 Foreseeably, illegal street vending increased in the Tenderloin after the City’s

                          10 crackdown in the Mission.

                          11             35.    Every school day morning, Jane Roe escorts her daughters to the bus

                          12 stop and then rides with them to their school. She does the same thing in reverse in

                          13 the afternoon. She is terrified for her daughters’ safety each time she makes the trip.

                          14 Her girls can never be outside unless accompanied by her or her husband.

                          15             36.    When Jane Roe ventures out of her apartment, either alone or with

                          16 family, she “is really scared because when I walk, I am always afraid something bad

                          17 will happen to us.” She and her husband are not high wage earners. She says, “I

                          18 really wish my daughters could grow up in a better place, which does not have so

                          19 much corruption, drugs, bad people. It is a frustration I have every day. We don’t

                          20 have enough money to move.”

                          21 B.          Plaintiff Susan Roe

                          22             37.    Plaintiff Susan Roe is a pseudonym and not her real name. Submitted
                          23 with this complaint is an application for an order permitting her to use a pseudonym

                          24 to protect her personal safety.

                          25             38.    Susan Roe lives in a residence on Eddy Street, between Jones and
                          26

                          27       6 https://www.ktvu.com/news/tenderloin-shooting-leaves-1-dead-four-injured
                                   7 https://www.axios.com/local/san-francisco/2024/02/08/sf-illegal-vending-ban-law-
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
                                   when-extended
  & SCHOENBERGER
                                                                            11
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           12 of15
                                                                                                 38of 41




                               1 Leavenworth, in the Tenderloin. She is elderly. She is disabled. She depends on a

                               2 walker to ambulate.

                               3        39.   The sidewalks and public spaces in Susan Roe’s neighborhood are

                               4 impassable and inaccessible to her. Encampments and bulky items, such as duffle

                               5 bags, shopping carts and disassembled bicycles, obstruct the sidewalks.

                               6        40.   Large crowds also block the sidewalks around Susan Roe’s residence.

                               7 People in these crowds openly smoke and inject drugs, scream and act erratically.

                               8 She attends community events and receives services at a senior center on Turk

                               9 Street. These events and services are important to her. However, she dreads going to

                          10 the center because intimidating crowds block a corner where she must cross the

                          11 street. She must also be on the lookout for and navigate around excrement, used

                          12 syringes, vomit and garbage. These obstacles make it impossible for her to use the

                          13 sidewalk. She instead walks in the busy street, which is dangerous.

                          14 C.         Plaintiff Mary Roe

                          15            41.   Plaintiff Mary Roe is a pseudonym and not her real name. Submitted
                          16 with this complaint is an application for an order permitting her to use a pseudonym

                          17 to protect her personal safety.

                          18            42.   Mary Roe, a native of San Francisco, is a senior citizen and the mother
                          19 of grown children. She works as a counselor. She has pulmonary and spinal

                          20 conditions that make it difficult for her to walk. She lives in the Tenderloin, in an

                          21 apartment on Turk Street, between Jones and Leavenworth. She laments, “My

                          22 neighborhood has become disgusting and dangerous.”

                          23            43.   Crowds of drug dealers and users block the sidewalks around Mary
                          24 Roe’s apartment building. Encampments, stolen goods for sale, carts, disassembled

                          25 bicycles, and other bulky items also obstruct passage. When she ventures outside,

                          26 she has no choice but to jaywalk, which is especially dangerous because her age and

                          27 medical conditions make it difficult for her to avoid moving vehicles.

                          28            44.   Mary Roe sees people inject and smoke narcotics on the sidewalk. She
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           12
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           13 of16
                                                                                                 38of 41




                               1 must avoid people who scream and act erratically, or who are partially clothed or

                               2 completely naked. She sees people defecate in public. The sidewalks around her home

                               3 are littered with garbage, human waste, and used drug paraphernalia. There have

                               4 been so many overdoses that she often wonders whether a person lying prostrate on

                               5 the sidewalk is dead rather than merely passed out. In sum, whenever she ventures

                               6 outside, she is always afraid and frequently mortified.

                               7        45.    There is a storefront on Mary Roe’s block occupied by an organization

                               8 that purports to provide a “community building program.” People affiliated with that

                               9 organization hand out fentanyl drug kits, e.g., packets with foil, tubes and smoking

                          10 devices, on the sidewalk in front of the storefront. Crowds gather when these

                          11 handouts occur. When the people finish distributing the kits, they retreat inside the

                          12 storefront, locking the doors behind them. Chaos then ensues. People ingest drugs,

                          13 become intoxicated and act erratically. Mary Roe has observed other citizens try to

                          14 discourage people from ingesting narcotics on the sidewalk, only to have people

                          15 affiliated with the organization come out of the storefront and intercede, proclaiming

                          16 that people have the right to use drugs in public. The City knows that this

                          17 organization and other groups hand out fentanyl kits and encourage illegal drug use

                          18 in public spaces in the Tenderloin. The City would not tolerate such arrogant and

                          19 reckless conduct in other neighborhoods, but because the City has decided to treat

                          20 the Tenderloin as a containment zone, it does nothing to discourage such activity

                          21 despite the harm it causes to Tenderloin residents and stakeholders.

                          22            46.    Around the corner from Mary Roe’s apartment, on the 200 block of

                          23 Leavenworth Street, are three markets that stay open all night. People gather in

                          24 front of these markets, especially after dark. They completely block the sidewalk

                          25 while selling, buying and using drugs and hawking stolen items. The same thing

                          26 happens near many other markets in the Tenderloin. The City would not tolerate

                          27 such nuisances around markets elsewhere, but because the City treats the

                          28 Tenderloin as a containment zone, the City does little to nothing in response.
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           13
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                    COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           14 of17
                                                                                                 38of 41




                               1 D.     Plaintiff John Roe

                               2        47.    Plaintiff John Roe is a pseudonym and not his real name. Submitted
                               3 with this complaint is an application for an order permitting him to use a pseudonym

                               4 to protect his personal safety.

                               5        48.    Plaintiff John Roe, born in South America, has resided in the United
                               6 States for over 15 years. He is in his late 50s. He is a behavioral health worker.

                               7 About four years ago he and his husband purchased a home near the corner of Turk

                               8 and Larkin Streets in the Tenderloin.

                               9        49.    The conditions around his home “logistically and emotionally” affect and
                          10 drain John Doe. Drug deals happen around his residence at all hours. Dealers dress a

                          11 specific way and obviously belong to gangs. They are intimidating. He sees people on

                          12 the sidewalk inject drugs. People light fires in front of his home. He hears people in

                          13 the throes of drug-induced psychotic episodes scream. The medical examiner’s van

                          14 recently blocked his driveway to pick up the corpse of someone who overdosed. The

                          15 images below show what he regularly encounters in front of home:

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            14
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                    COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           15 of18
                                                                                                 38of 41




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                         15
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           16 of19
                                                                                                 38of 41




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13            50.   John Roe sometimes hears gunshots. The drug-related violence leaves
                          14 him fearful and in despair. He sees biological hazards and garbage “everywhere” on

                          15 the sidewalks and streets. He recently encountered someone defecating in his

                          16 doorway. When he asked that person to leave, the man threatened him.

                          17            51.   John Roe cannot walk on the sidewalks around his home because drug
                          18 dealers and addicts gather and block passage. Encampments and stolen goods

                          19 displayed for sale also make the sidewalks impassable. He must step into the street

                          20 to bypass these dangers and obstacles.

                          21            52.   John Doe regularly reports the problems around his home to the City,
                          22 which rarely responds. Despite the constant open-air crime, John Roe seldom sees

                          23 members of the SFPD on foot patrol in his neighborhood.

                          24 E.         Plaintiff Barbara Roe
                          25            53.   Plaintiff Barbara Roe is a pseudonym and not her real name. Submitted
                          26 with this complaint is an application for an order permitting her to use a pseudonym

                          27 to protect her personal safety.

                          28            54.   In 2020, Barbara Roe and her husband purchased a condominium in a
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                         16
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           17 of20
                                                                                                 38of 41




                               1 multi-unit building on McAllister Street in the Tenderloin.

                               2          55.   Large crowds gather in front of and around Barbara Roe’s building

                               3 every night. The typical after-dark crowd ranges from seventy to over one hundred

                               4 people. Those in the crowd openly sell, inject and smoke drugs, and hawk stolen

                               5 items.

                               6          56.   Barbara Roe finds it “difficult and scary” to navigate through the crowds

                               7 around her residence. People under the influence block the door to her building.

                               8 When she politely asks them to move so that she can pass, she fears that they will

                               9 attack her. Recently, one of her neighbors was attacked and injured at the entrance

                          10 to their building and had to go to the emergency room to receive stitches. There are

                          11 bonfires on the sidewalk. The smoke sometimes triggers her building’s fire alarm,

                          12 forcing her and her neighbors to evacuate into the threatening crowd.

                          13              57.   Barbara Roe must step into the busy street to bypass the sidewalk

                          14 obstacles near her building. The images below show typical nighttime conditions in

                          15 front of her building and on nearby sidewalks.

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26       .

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            17
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           18 of21
                                                                                                 38of 41




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                         18
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           19 of22
                                                                                                 38of 41




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10 F.         The Phoenix Hotel Plaintiffs
                          11            58.   Plaintiff Phoenix Hotel SF, LLC is a California limited liability company
                          12 in good standing.

                          13            59.   A hotel has been in operation at 601 Eddy Street in the Tenderloin since
                          14 the 1960s. In 1987, an affiliate of plaintiff Phoenix Hotel SF, LLC acquired a

                          15 leasehold interest in the property, and renovated and converted it into the “Phoenix

                          16 Hotel.” The Phoenix Hotel has since become a San Francisco landmark and an iconic

                          17 institution in the Tenderloin. The entrance to the Phoenix Hotel is on Eddy Street.

                          18 Larkin Street borders the eastern side of the hotel property.

                          19            60.   Beginning in 2011, plaintiff Phoenix Hotel SF, LLC took over the
                          20 leasehold interest and operations of the Phoenix Hotel.

                          21            61.   Plaintiff Funky Fun, LLC is a California limited liability company in
                          22 good standing. In 2011, it opened a restaurant and bar within the Phoenix Hotel

                          23 commonly known as “Chambers Eat + Drink” or the Chambers restaurant.

                          24            62.   Plaintiffs Phoenix Hotel SF, LLC and Funky Fun, LLC are hereafter
                          25 referred to in the collective as the “Phoenix Hotel Plaintiffs.”

                          26            63.   The principals of the Phoenix Hotel Plaintiffs care deeply about the
                          27 Tenderloin. Since taking over the hotel and restaurant, the Phoenix Hotel Plaintiffs

                          28 have been committed to improving and promoting the neighborhood.
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                          19
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           20 of23
                                                                                                 38of 41




                               1        64.    From 1987 through 2019 at the hotel, and from 2011 through 2019 at

                               2 the restaurant, business was vibrant. Operations brought many visitors to the

                               3 Tenderloin and put the neighborhood in a favorable light. Guests of the hotel

                               4 included famous musicians, artists and celebrities. People from all over the world

                               5 dined at the Chambers restaurant and gave it rave reviews. The Phoenix Hotel

                               6 Plaintiffs employed an average of about 50 people during this time, providing them

                               7 with good jobs in the hospitality industry. The Phoenix Hotel Plaintiffs were proud of

                               8 the employment, business, energy, goodwill and excitement that they brought to the

                               9 Tenderloin.

                          10            65.    The pandemic of 2020 caused the restaurant to shut down completely

                          11 and the hotel to scale back operations. The Phoenix Hotel Plaintiffs, however, were

                          12 determined to survive and continue operations in the Tenderloin when the pandemic

                          13 passed. However, conditions around the Phoenix Hotel have changed and worsened

                          14 considerably since 2019.

                          15            66.    Because the City treats the Tenderloin as a containment zone, people

                          16 who appear to be gang members now openly sell fentanyl and other potent drugs

                          17 around the Phoenix Hotel. People freely inject and smoke and ingest drugs on the

                          18 sidewalks around the property.

                          19            67.    The Phoenix Hotel Plaintiffs must comply with the Americans with

                          20 Disabilities Act and other laws that mandate that their facilities be open and

                          21 accessible to those with disabilities, e.g., patrons who use a wheelchair. However,

                          22 crowds of hostile people selling and using narcotics block passage of the sidewalks

                          23 abutting the hotel. Encampments, garbage and biological hazards make it difficult or

                          24 impossible for even able-bodied guests and patrons to navigate on the public

                          25 walkways around the hotel. The images below depict typical conditions.

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           20
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                    COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           21 of24
                                                                                                 38of 41




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                         21
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           22 of25
                                                                                                 38of 41




                               1

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11            68.   The conditions around the Phoenix Hotel scare prospective hotel guests

                          12 and restaurant patrons. Current business has plummeted as a result, down by about

                          13 two-thirds compared to 2011 to 2019. Below are excerpts from recent emails and

                          14 social media reviews:

                          15                  “The neighborhood is sort of shocking & sad - I have
                                              traveled the world & spent significant time in SF many
                          16                  years ago - SF is like a war zone these days - The
                                              Tenderloin needs to be cleaned up - at least around the
                          17                  hotel so guests feel safe upon arrival & walking out of the
                                              hotel.”
                          18
                                                                          ****
                          19
                                              “I wanted to give you a little update as we’ve just spoken to
                          20                  the client and unfortunately they have decided that they
                                              won’t be going ahead with Chambers [restaurant] on this
                          21                  occasion. They thought the venue was great but there were
                                              concerns raised by the leadership team about the safety of
                          22                  the surrounding area so unfortunately they’ve had to
                                              discount it as a dinner venue.”
                          23
                                                                          ****
                          24
                                              “It’s truly just the surroundings that ruin it for the place.
                          25                  Other than that it was a great stay. Sadly the people
                                              loitering on the street - doing drugs & burning something
                          26                  were VERY off putting. I generally am comfortable with
                                              street people but this was extreme. I know you can’t change
                          27                  the neighborhood but I am hesitant to write a review
                                              because of that.”
                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
                                                                          ****
  & SCHOENBERGER
                                                                           22
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           23 of26
                                                                                                 38of 41




                               1              “Good: Hotel was beautiful clean and accommodating
                                              Bad: Location was horrible, homeless everywhere, didn’t
                               2              feel safe walking off the hotel parking lot.”

                               3                                          ****

                               4              “Know it’s a difficult situation but the homeless and drug
                                              dealers on the street corner would probably dissuade me
                               5              from booking at the Phoenix again. Love the staff, vibe but
                                              just don’t feel safe walking out of the hotel.”
                               6
                                                                          ****
                               7
                                              “This hotel is in a terrible neighborhood. Going out
                               8              anywhere was a challenge due to MANY drugged out
                                              individuals carpeting the sidewalk along with thick litter.
                               9              I’m glad I survived.”

                          10            69.   The average number of people employed by the Phoenix Hotel Plaintiffs

                          11 has dropped to about 20 because of the downturn in business. It is difficult for the

                          12 Phoenix Hotel Plaintiffs to retain existing employees and to hire new ones. When a

                          13 hotel employee recently asked a trespasser to leave the parking lot, the man struck

                          14 the employee on the head with an object. The restaurant has been unable to recruit a

                          15 qualified chef because the neighborhood conditions deter applicants.

                          16            70.   The lease for the Phoenix Hotel ends in September 2025. Had the

                          17 conditions in the Tenderloin in general and around the hotel in particular not

                          18 deteriorated, then the Phoenix Hotel Plaintiffs would have renewed the lease. They

                          19 want to continue to do business in the Tenderloin. They want to provide good jobs.

                          20 They want to continue to improve and promote the neighborhood. However, renewing

                          21 a lease is a long-term commitment that requires a reinvestment in the property and

                          22 a good-faith belief that customers will patronize the business in the future. The

                          23 current conditions around the hotel have caused the Phoenix Hotel Plaintiffs to

                          24 decline to renew the lease.

                          25 G.         The Best Western Plaintiff

                          26            71.   Plaintiff 2930 El Camino, LLC, a California limited liability company in
                          27 good standing, has an ownership interest in real property located at 700 Eddy Street,

                          28 on the northwest corner of Polk Stret, in the Tenderloin. The back of the property
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           23
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                   COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           24 of27
                                                                                                 38of 41




                               1 borders Willow Street. Plaintiff 2930 El Camino, LLC operates a short-term hotel at

                               2 this location that is commonly known as the “Best Western Road Coach Inn.”

                               3 Plaintiff 2930 El Camino, LLC is hereafter referred to as the “Best Western

                               4 Plaintiff.”

                               5        72.    The City’s containment zone policy has caused horrific conditions on the

                               6 sidewalks and public spaces around the Best Western Road Coach Inn. Narcotic

                               7 transactions happen around the hotel at all hours. Addicts live in unsanitary

                               8 sidewalk encampments next to the hotel. Hotel staff regularly clean and hose down

                               9 the sidewalks abutting the hotel, but they are quickly re-littered with excrement,

                          10 used syringes and garbage. The image below show trespassers ingesting drugs in the

                          11 parking lot of the hotel, which is open to the street.

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21

                          22

                          23

                          24

                          25            73.    The Best Western Plaintiff must comply with the Americans with

                          26 Disabilities Act and other laws that mandate that its facilities be open and accessible

                          27 to those with disabilities, e.g., patrons who use a wheelchair. However, the sidewalks

                          28 around the hotel are inaccessible to guests. The images below show typical conditions
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                           24
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                    COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           25 of28
                                                                                                 38of 41




                               1 on the Polk Street side of the hotel:

                               2

                               3

                               4

                               5

                               6

                               7

                               8

                               9

                          10

                          11

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20

                          21
                                         74.   Despite the efforts and hard work of hotel employees, the conditions on
                          22
                                   the sidewalks mortify and scare guests. Here are some recent online reviews:
                          23
                                               “The staff is amazing & work really hard to make their
                          24                   guests comfortable. That being said; if your room is near
                                               the alley you get to listen to screaming all night and smell
                          25                   the outside toilet. Every morning the staff has to pressure
                                               wash the poo off the driveway and sidewalk. The smell
                          26                   doesn't go away. It’s a great hotel. It would be amazing in
                                               another location and where guests felt safe.”
                          27
                                                                           ****
                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            25
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                    COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           26 of29
                                                                                                 38of 41




                               1              “Sirens every 20 minutes, homeless and drugs were on all
                                              streets surrounding the hotel. Trash on all the sidewalks,
                               2              as well as people, sleeping and living there.”

                               3                                                        ****

                               4              “Typical Best Western but the area is terrible. Lots of
                                              homeless, drugged people. Walking is not recommended.”
                               5
                                                                                        ****
                               6
                                              “There’s a lot of noise from homeless people at night, hard
                               7              to sleep and unsafe to walk at night.”

                               8        75.   An example of how the City treats the Tenderloin as a containment zone

                               9 occurred on August 31, 2023, when “activists” made a public show of setting up tents

                          10 on Willow Street and inviting addicts to come there to collect drug paraphernalia and

                          11 ingest fentanyl. The images below show what took place:

                          12

                          13

                          14

                          15

                          16

                          17

                          18

                          19

                          20
                                              Source: https://sfstandard.com/2023/08/31/san-francisco-activists-pop-up-safe-drug-use-site/
                          21

                          22

                          23

                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                                          26
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                      COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                  CaseCase
                                       4:20-cv-03033-JST
                                           3:24-cv-01562 Document 1
                                                                  127-1
                                                                    FiledFiled
                                                                          03/14/24
                                                                               03/14/24
                                                                                     PagePage
                                                                                          27 of30
                                                                                                38of 41




                              1        Source: https://www.sfchronicle.com/opinion/article/san-francisco-tenderloin-drug-prevention-site-18314454.php


                              2

                              3

                              4

                              5

                              6

                              7

                              8

                              9

                         10            Source: https://www.sfchronicle.com/opinion/article/san-francisco-tenderloin-drug-prevention-site-18314454.php

                         11             76.      As one news site reported, “At the renegade safe-consumption site, [the

                         12 reporter] witnessed several people using drugs under the tent while many others

                         13 lined up to obtain fresh materials to consume their drugs with.” 8

                         14             77.      Operating a narcotics ingestion site, such as the one on Willow Street, is

                         15 a crime under California law, punishable by up to one year in jail. 9 Federal law

                         16 makes it a felony, punishable by imprisonment up to 20 years, to be involved in the

                         17 operation of a site like the one on Willow Street. 10

                         18             78.      The illegal narcotics ingestion site on Willow Street operated only a few

                         19 hundred feet from the Tenderloin Community Elementary School. Seniors and low-

                         20 income families with young children live nearby. The site operated in the middle of

                         21 restaurants and shops in the “Little Saigon” subdistrict of the Tenderloin. These

                         22 businesses were already struggling to stay open in the face of deplorable conditions

                         23 caused by the City’s treatment of area as a containment zone. 11

                         24
                                  8 https://sfstandard.com/2023/08/31/san-francisco-activists-pop-up-safe-drug-use-site/
                         25       9 California Health & Safety Code §§ 11365, 11366.
                                  10 21 U.S.C. § 856. “The statute forbids opening and maintaining any place for
                         26
                       visitors to come use drugs.” United States v. Safehouse, 985 F.3d 225, 243 (3rd Cir.
                   27 2021) (declaring that a nonprofit that intentionally opens its facility to visitors it
                       knows will use drugs there violates 21 U.S.C.A. § 856).
                   28 11
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
                         https://sfstandard.com/2024/01/22/san-francisco-little-saigon-homeless-center/
  & SCHOENBERGER
                                                                                            27
 A PROFESSIONAL CORPORATION
  650 CALIFORNIA STREET

                                                         COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
        26TH FLOOR
 SAN FRANCISCO, CA 94108
      (415) 981-7210
                                  CaseCase
                                       4:20-cv-03033-JST
                                           3:24-cv-01562 Document 1
                                                                  127-1
                                                                    FiledFiled
                                                                          03/14/24
                                                                               03/14/24
                                                                                     PagePage
                                                                                          28 of31
                                                                                                38of 41




                              1         79.     The City does nothing to discourage such outrageous, disrespectful and

                              2 harmful conduct from happening in the Tenderloin. To the contrary, a news report

                              3 quoted a member of the San Francisco Board of Supervisors as praising those who

                              4 ran the Willow Street site. 12 An employee of a nonprofit that receives hundreds of

                              5 millions of dollars in funding from the City may have helped set up and operate the

                              6 site. 13 That those who operated the site had the temerity to block a public sidewalk in

                              7 the Tenderloin, and publicly proclaim their participation in criminal narcotics

                              8 activity, comes as no surprise given the City’s attitude about the Tenderloin. The

                              9 City itself previously opened a “wellness hub” in the neighborhood that, in fact,

                         10 operated as a “supervised” narcotics consumption site in violation of state and

                         11 federal law. 14

                         12 H.          Defendant City and County of San Francisco

                         13             80.     Defendant City and County of San Francisco is a municipal entity
                         14 existing under the laws of the State of California, with the capacity to sue and be

                         15 sued.

                         16                                    V. CLAIMS FOR RELIEF
                         17
                                                              FIRST CLAIM FOR RELIEF
                         18                   Violation of Title II of the Americans with Disabilities Act
                                                                42 U.S.C. §§ 12131 et seq.
                         19                              (Plaintiffs Mary Roe and Susan Roe)
                         20
                                        81.     Plaintiffs Mary Roe and Susan Roe re-allege and incorporate herein by
                         21
                                  this reference each and every allegation set forth in Paragraphs 1 through 80 of this
                         22
                                  Complaint as though set forth fully herein.
                         23

                         24
                                  12 https://abc7news.com/overdose-awareness-day-2023-san-francisco-tenderloin-safe-
                         25
                       injection-sites-pop-up-site/13723380/
                       13 See https://www.sfchronicle.com/opinion/article/san-francisco-tenderloin-drug-
                         26
                       prevention-site-18314454.php; https://www.sfchronicle.com/bayarea/article/nonprofit-
                   27 ceo-contract-pay-18667516.php
                       14 See https://www.cbsnews.com/sanfrancisco/news/tenderloin-center-safe-injection-
                   28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
                       site-closure-advocates-sf-superviors-push-back-mayor-breed-sfdph/
  & SCHOENBERGER
                                                                            28
 A PROFESSIONAL CORPORATION
  650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
        26TH FLOOR
 SAN FRANCISCO, CA 94108
      (415) 981-7210
                                  CaseCase
                                       4:20-cv-03033-JST
                                           3:24-cv-01562 Document 1
                                                                  127-1
                                                                    FiledFiled
                                                                          03/14/24
                                                                               03/14/24
                                                                                     PagePage
                                                                                          29 of32
                                                                                                38of 41




                              1         82.    The ADA provides that people with disabilities be afforded “the full and

                              2 equal enjoyment of the goods, services, facilities, privileges, advantages, or

                              3 accommodations of any place of public accommodation….” 15 Further, the ADA

                              4 ensures that transportation facilities are constructed to a set of standards that

                              5 ensures accessibility for the disabled. Sidewalks are the most common element of

                              6 transportation infrastructure, yet if they are not accessible, they pose great

                              7 challenges and dangers to anyone in a wheelchair, dependent on a walker, or who

                              8 has other mobility restrictions.

                              9         83.    Sidewalks are subject to the access requirements of Title II of the ADA

                         10 and § 504 of the Rehabilitation Act. 16 Accordingly, sidewalk width requirements

                         11 ensure that sidewalks are accessible for use by wheelchair-bound individuals.

                         12             84.    The minimum width for an ADA-compliant sidewalk is 36 inches. 17 “A

                         13 public entity shall maintain an operable working condition those features of facilities

                         14 and equipment that are required to be readily accessible to and usable by persons

                         15 with disabilities by the Act or this part.” 18

                         16             85.    Throughout the Tenderloin, the City fails to uphold its obligations to

                         17 maintain clear and accessible sidewalks and public rights-of-way for its disabled

                         18 residents and visitors, resulting in regular violations of the Americans with

                         19 Disabilities Act. These ADA violations are obvious and known to the City both

                         20 through its own inspections and various reports to the City of blocked sidewalks due

                         21 to illegal sidewalk vending, crowds engaged in narcotics activities, encampments,

                         22 piles of garbage, bicycle “chop shops,” and similar obstructions. The City and its

                         23
                                  15 42 U.S.C. § 12182(a).
                         24       16 Willits v. City of Los Angeles, 925 F. Supp. 2d 1089, 1093 (C.D. Cal. 2013) (“Any

                   25 public sidewalk over which the City of Los Angeles has responsibility to inspect and
                       notify property owners of repair needs is a ‘program, service, or activity’ within the
                   26 meaning of Title II of the Americans with Disabilities Act and Section 504 of the

                   27 Rehabilitation   Act of 1973.”).
                       17 36 C.F.R. § 1191, app. D, § 403.5.1 (“the clear width of walking surfaces shall be 36

                   28 inches  (915 mm) minimum”).
                       18 28 C.F.R. § 35.133(a).
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                            29
 A PROFESSIONAL CORPORATION
  650 CALIFORNIA STREET

                                                    COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
        26TH FLOOR
 SAN FRANCISCO, CA 94108
      (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           30 of33
                                                                                                 38of 41




                               1 agents and employees have failed and continue to fail to provide reasonable

                               2 accommodations for disabled persons using public sidewalks in the Tenderloin.

                               3         86.    The City is obligated to operate the “service, program, or activity” “so

                               4 that..., when viewed in its entirety, it is readily accessible to and useable by

                               5 individuals with disabilities.” 19 Yet when “viewed in its entirety” public rights-of-way

                               6 are not provided by the City to be “readily accessible to and useable” by individuals

                               7 bound to wheelchairs and assistive walking devices.

                               8         87.    The discrimination and denial of access to the City’s rights-of-way for

                               9 persons with disabilities in the Tenderloin is the direct result of the City’s policies

                          10 and practices of tolerating: (a) crowds blocking sidewalks while selling, buying and

                          11 ingesting narcotics; (b) widespread illegal sidewalk vending; (c) encampments; (d)

                          12 garbage and biohazards accumulating on the sidewalks; and (d) activities such as the

                          13 operation of a stolen bicycle chop shops that block the sidewalks. The City has failed

                          14 to adopt or implement any adequate procedures for regularly inspecting and

                          15 maintaining the pedestrian rights-of-way clear of these obstructions.

                          16             88.    As a direct and proximate result of the aforementioned acts, including

                          17 but not limited to The City’s deliberate indifference to the violation of plaintiffs Mary

                          18 Roe’s and Susan Roe’s federally protected rights, and these plaintiffs have suffered

                          19 pain, humiliation, hardship, anxiety, indignity, and severe mental and emotional

                          20 anguish. This deprives these plaintiffs’ of their independence and prevents them from

                          21 accessing the services and benefits of public establishments.

                          22             89.    Pursuant to 42 U.S.C. § 12133 and 29 U.S.C. § 794a(b), plaintiffs Mary

                          23 Roe and Susan Roe are entitled to recover reasonable attorneys’ fees and costs

                          24 incurred in bringing this action.

                          25             ///

                          26             ///

                          27

                          28       19 28 C.F.R. § 35.150(a).
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             30
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           31 of34
                                                                                                 38of 41




                               1                            SECOND CLAIM FOR RELIEF
                                                   Violation of Section 504 of the Rehabilitation Act
                               2                                 29 U.S.C. §§ 794 et seq.
                               3                         (Plaintiffs Mary Roe and Susan Roe)

                               4         90.    Plaintiffs Mary Roe and Susan Roe re-allege and incorporate herein by
                               5 this reference each and every allegation set forth in Paragraphs 1 through 80 of this

                               6 Complaint as though set forth fully herein.

                               7         91.    Section 504 of the Rehabilitation Act of 1973 provides in relevant part:
                               8                [N]o otherwise qualified individual with a disability …
                                                shall, solely by reason of his or her disability, be excluded
                               9                from the participation in, be denied the benefits of, or be
                                                subjected to discrimination under any program or activity
                          10                    receiving Federal financial assistance…. 20
                          11             92.    Plaintiffs Mary Roe and Susan Roe are otherwise qualified to
                          12 participate in the services, programs, or activities that are provided to individuals in

                          13 the City. The City is a recipient of federal financial assistance and therefore subject

                          14 to Section 504. The City and its agents and employees have violated and continue to

                          15 violate Section 504 of the Rehabilitation Act by excluding plaintiffs Mary Roe and

                          16 Susan Roe from participation in, denying them the benefits of, and subjecting them

                          17 to discrimination regarding the benefits and services involved in utilizing public

                          18 rights-of-way based solely on their disability.

                          19             93.    Upon information and belief, said discrimination occurred with
                          20 deliberate intent and/or reckless disregard of plaintiffs Mary Roe’s and Susan Roe’s

                          21 rights. These plaintiffs seek injunctive relief and the cost of attorneys’ fees in

                          22 bringing this action.

                          23                                 THIRD CLAIM FOR RELIEF
                          24                         Violation of California Disabled Persons Act
                                                           California Civil Code §§ 54 et seq.
                          25                             (Plaintiffs Mary Roe and Susan Roe)
                          26             94.    Plaintiffs Mary Roe and Susan Roe re-allege and incorporate herein by
                          27

                          28       20 29 U.S.C. § 794(a).
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              31
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           32 of35
                                                                                                 38of 41




                               1 this reference each and every allegation set forth in Paragraphs 1 through 80 of this

                               2 Complaint as though set forth fully herein.

                               3         95.    California’s Disabled Persons Act codifies requirements that ensure

                               4 equal and full access to individuals with disabilities. That Act provides, in part:

                               5                Individuals with disabilities or medical conditions have the
                                                same right as the general public to the full and free use of
                               6                the streets, highways, sidewalks, walkways, public
                                                buildings, medical facilities, including hospitals, clinics,
                               7                and physicians’ offices, public facilities, and other public
                                                places. 21
                               8
                                   Further,
                               9
                                                Individuals with disabilities shall be entitled to full and
                          10                    equal access, as other members of the general public, to
                                                accommodations, advantages, facilities, medical facilities,
                          11                    including hospitals, clinics, and physicians’ offices . . . and
                                                other places to which the general public is invited, subject
                          12                    only to the conditions and limitations established by law, or
                                                state or federal regulation, and applicable alike to all
                          13                    persons. 22

                          14             96.    Plaintiffs Mary Roe and Susan Roe seek injunctive relief and the cost of

                          15 attorneys’ fees in bringing this action.

                          16                                 FOURTH CLAIM FOR RELIEF
                                                                    Public Nuisance
                          17                               California Civil Code §§ 3490 et seq.
                                                                      (All Plaintiffs)
                          18

                          19             97.    All plaintiffs re-allege and incorporate herein by this reference each and

                          20 every allegation set forth in Paragraphs 1 through 80 of this Complaint as though set

                          21 forth fully herein.

                          22             98.    California has defined nuisance as:

                          23                    Anything which is injurious to health, including, but not
                                                limited to, the illegal sale of controlled substances, or is
                          24                    indecent or offensive to the senses, or an obstruction to the
                                                free use of property, so as to interfere with the comfortable
                          25                    enjoyment of life or property, or unlawfully obstructs the
                                                free passage or use, in the customary manner, of,… any
                          26

                          27
                                   21 Cal. Civ. Code § 54(a).
                          28       22 Cal. Civ. Code § 54.1(a)(1).
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              32
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                      COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           33 of36
                                                                                                 38of 41




                               1                public park, square, street, or highway, is a nuisance. 23

                               2         99.    The nuisance statute “is an expression of the Legislature’s public policy

                               3 against public nuisances, and it is plainly aimed at protecting the public from the

                               4 hazards created by public nuisances.” 24 In addition to health and safety hazards, “[a]

                               5 reduction in property values caused by activities on a neighboring piece of land, and

                               6 an assault on the senses by noise, dust, and odors, are just the kinds of harm that

                               7 common law suits to abate a nuisance are designed to redress.” 25 A public nuisance is

                               8 the substantial and unreasonable interference with a public right. 26

                               9         100.   As described above, the City, by its failure to maintain the public

                          10 property under its control and to enforce the laws requiring the same, is perpetuating

                          11 and facilitating a public nuisance.

                          12             101.   All plaintiffs have experienced a substantial and unreasonable

                          13 interference with the enjoyment of their property, whether that be an apartment, a

                          14 home, or commercial property, and with their right of free passage and use; each has

                          15 suffered and continues to be threatened with respect to his, her, or its health and

                          16 welfare, by reason of the crowds blocking sidewalks and public spaces while engaged

                          17 in illegal narcotic activities and other dangerous and injurious conduct, illegal street

                          18 vending, the presence of encampments, trash, human waste, biohazards and other

                          19 nuisances on the sidewalks and public spaces outside their homes and businesses.

                          20             102.   Each plaintiff has been damaged in his, her, or its own right, in a

                          21 manner specially injurious to himself, herself, or itself. No plaintiff consented to the

                          22 City’s conduct.

                          23             103.   Plaintiffs seek injunctive relief and the cost of attorneys’ fees in bringing

                          24 this action.

                          25
                                   23 Cal. Civ. Code § 3479.
                          26
                                   24 People v. ConAgra Grocery Prods. Co., 17 Cal. App. 5th 51, 136 (2017).
                          27       25 Solid Waste Agency of N. Cook Cty. v. U.S. Army Corps of Eng’rs, 101 F.3d 503, 505

                          28 (7th Cir. 1996).
                             26 San Diego Gas & Elec. Co. v. Superior Court, 13 Cal. 4th 893, 938 (1996).
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              33
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           34 of37
                                                                                                 38of 41




                               1                                 FIFTH CLAIM FOR RELIEF
                                                                       Private Nuisance
                               2                            California Civil Code §§ 3501 et seq.
                               3                                         (All Plaintiffs)
                                         104.    All plaintiffs re-allege and incorporate herein by this reference each and
                               4
                                   every allegation set forth in Paragraphs 1 through 80 of this Complaint as though set
                               5
                                   forth fully herein.
                               6
                                         105.    Each plaintiff owns, leases, occupies, or otherwise controls all of a
                               7
                                   portion of the home or business identified. The City’s actions and inactions have
                               8
                                   created conditions or permitted conditions to exist that are harmful to the health, are
                               9
                                   indecent and offensive to the senses, obstruct the free passage and use of public
                          10
                                   parks, squares, streets, highway, and sidewalks, permit unlawful sales and
                          11
                                   consumption of illicit narcotics, illegal street vending, and constitute a fire hazard, as
                          12
                                   described supra.
                          13
                                         106.    The City’s conduct has been and is intentional and unreasonable, or
                          14
                                   unintentional but negligent or reckless. Alternatively, the conditions permitted to
                          15
                                   exist were the result of abnormally dangerous activity that substantially interfered
                          16
                                   with each plaintiff’s use or enjoyment of his, her, or its land that would reasonably
                          17
                                   annoy or disturb an ordinary person. No plaintiff consented to the City’s conduct;
                          18
                                   each was harmed; the City’s conduct was a substantial factor in causing the harm;
                          19
                                   and the seriousness of the harm outweighs any public benefit of such conduct.
                          20
                                         107.    Plaintiffs seek no monetary damages hereunder and assert this cause of
                          21
                                   action for the purpose of obtaining equitable and injunctive relief only. Accordingly,
                          22
                                   the City is not entitled to any claim of immunity, pursuant to California Government
                          23
                                   Code § 814.
                          24
                                                                 SIXTH CLAIM FOR RELIEF
                          25                                       Violation of Due Process
                                                          42 U.S.C. § 1983; U.S. Const. Amend. V/XIV
                          26                                             (All Plaintiffs)
                          27
                                         108.    All plaintiffs re-allege and incorporate herein by this reference each and
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                               34
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                         COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           35 of38
                                                                                                 38of 41




                               1 every allegation set forth in Paragraphs 1 through 80 of this Complaint as though set

                               2 forth fully herein.

                               3        109.   The City, by abdicating its duties under the law to ensure safe and

                               4 secure living conditions in the Tenderloin, has denied residents and visitors due

                               5 process of law as guaranteed by the Fifth and Fourteenth Amendments of the United

                               6 States Constitution. The dangerous and squalid conditions of the public walkways

                               7 and spaces in the Tenderloin have denied plaintiffs and other residents and

                               8 stakeholders of their unimpeded liberty and use of their property. The City allowed

                               9 conditions to fester that threaten their safety, health and lives.

                          10            110.   Upon information and belief, this was done with deliberate intent and/or

                          11 reckless disregard of plaintiffs’ rights. Plaintiffs seek injunctive relief and the cost of

                          12 attorneys’ fees in bringing this action.

                          13                                 SEVENTH CLAIM FOR RELIEF
                                                              Violation of Equal Protection
                          14                            42 U.S.C. § 1983; U.S. Const. Amend. V/XIV
                          15                                           (All Plaintiffs)

                          16            111.   All plaintiffs re-allege and incorporate herein by this reference each and
                          17 every allegation set forth in Paragraphs 1 through 80 of this Complaint as though set

                          18 forth fully herein.

                          19            112.   The City, by enforcing the laws in some areas and declining to enforce
                          20 those laws in the Tenderloin, has arbitrarily determined where illicit narcotics

                          21 activities can occur, where crowds of persons engaged in illegal activities can gather,

                          22 where sidewalk encampments may or may not be located, and what communities

                          23 should be affected, without following its own procedures and in violation of both state

                          24 and federal law. This has placed a disproportionate burden on persons and

                          25 businesses in the Tenderloin, over those in other neighborhoods.

                          26            113.   Upon information and belief, this was done with deliberate intent and/or
                          27 reckless disregard of plaintiffs’ rights.

                          28            114.   Plaintiffs seek injunctive relief and the cost of attorneys’ fees in bringing
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                             35
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                       COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           36 of39
                                                                                                 38of 41




                               1 this action.

                               2                            EIGHTH CLAIM FOR RELIEF
                                          Violation of Due Process Clause, State-Created Danger Doctrine
                               3                       42 U.S.C. § 1983; U.S. Const. Amend. XIV
                               4                                     (All Plaintiffs)

                               5         115.   All plaintiffs re-allege and incorporate herein by this reference each and
                               6 every allegation set forth in Paragraphs 1 through 80 of this Complaint as though set

                               7 forth fully herein.

                               8         116.   By the acts and omissions described above, the City has affirmatively
                               9 created or increased the risk that plaintiffs would be exposed to dangerous

                          10 conditions, which placed plaintiffs specifically at risk, and plaintiffs were harmed as

                          11 a result.

                          12             117.   The City knew or should have known that its acts or omissions
                          13 specifically endangered plaintiffs, and the City was deliberately indifferent thereto.

                          14             118.   Plaintiffs seek injunctive relief and the cost of attorneys’ fees in bringing
                          15 this action.

                          16                                    NINTH CLAIM FOR RELIEF
                                                                       Negligence
                          17                                         (All Plaintiffs)
                          18
                                         119.   All plaintiffs re-allege and incorporate herein by this reference each and
                          19
                                   every allegation set forth in Paragraphs 1 through 80 of this Complaint as though set
                          20
                                   forth fully herein.
                          21
                                         120.   The City, by and through its agents and employees, has the sole right
                          22
                                   and responsibility to control, maintain, and keep safe and clean the public and
                          23
                                   public-right-of-way areas in San Francisco, including parks, sidewalks, streets, and
                          24
                                   public buildings, and to make and enforce laws assuring the public health and safety
                          25
                                   thereof for its citizens and their guests. Among other things, the City has the duty to
                          26
                                   maintain these areas in a manner that does not unreasonably interfere with the free
                          27
                                   passage or use by plaintiffs and that addresses and alleviates conditions that are
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              36
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                         COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           37 of40
                                                                                                 38of 41




                               1 harmful to health or indecent or offensive to the senses, that create a fire hazard, or

                               2 that permit crime to occur unabated including the illegal sale narcotics.

                               3         121.   As controlling law makes clear, “The public is entitled to the free and

                               4 unobstructed use of the entire streets and sidewalks….” 27 Indeed, municipalities

                               5 “have the duty to keep their communities’ streets open and available for movement of

                               6 people and property, the primary purpose to which the streets are dedicated.” 28

                               7         122.   The City and its agents have breached their duty to the Tenderloin’s

                               8 citizens, including and specifically to plaintiffs, and each plaintiff has suffered as a

                               9 result. The bases of this claim for relief include the conduct, acts, and omissions of

                          10 individual responsible City officials, based on the theory of respondeat superior.

                          11             123.   Plaintiffs seek no monetary damages hereunder and make this claim for

                          12 only equitable and injunctive relief. Accordingly, the City is not entitled to any claim

                          13 of immunity, pursuant to California Government Code § 814.

                          14                               TENTH CLAIM FOR RELIEF
                                       Deprivation of the Guarantee of Safety and the Pursuit of Happiness
                          15                           California Constitution, Article I, § 1
                          16                                      (All Plaintiffs)

                          17             124.   All plaintiffs re-allege and incorporate herein by this reference each and
                          18 every allegation set forth in Paragraphs 1 through 80 of this Complaint as though set

                          19 forth fully herein.

                          20             125.   California Constitution, Article I § 1 provides:
                          21                    All people are by nature free and independent and have
                                                inalienable rights. Among these are enjoying and defending
                          22                    life and liberty, acquiring, possessing, and protecting
                                                property, and pursuing and obtaining safety, happiness,
                          23                    and privacy.
                          24             126.   The actions by the City have limited, damaged, and/or burdened
                          25 plaintiffs’ constitutionally guaranteed inalienable rights, including plaintiffs’ rights

                          26

                          27       27 Vanderhurst v. Tholcke, 113 Cal. 147, 152 (1896).
                                   28 Schneider v. State of New Jersey, Town of Irvington, 308 U.S. 147, 160, 60 S. Ct.
                          28
      LAW OFFICES OF
WALKUP, MELODIA, KELLY
                                   146, 150 (1939).
  & SCHOENBERGER
                                                                             37
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                      COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                   CaseCase
                                        4:20-cv-03033-JST
                                            3:24-cv-01562 Document 1
                                                                   127-1
                                                                     FiledFiled
                                                                           03/14/24
                                                                                03/14/24
                                                                                      PagePage
                                                                                           38 of41
                                                                                                 38of 41




                               1 to enjoy and defend their life and liberty; to acquire, possess, and protect their

                               2 property; and to pursue and obtain safety, happiness, and privacy.

                               3         127.   Plaintiffs seek no monetary damages hereunder and submit this claim

                               4 for only equitable and injunctive relief. Accordingly, the City is not entitled to any

                               5 claim of immunity, pursuant to California Government Code § 814.

                               6                            VII. DEMAND FOR JUDGMENT

                               7
                                         WHEREFORE, plaintiffs pray for judgment against defendant and County of
                               8
                                   San Francisco, as follows:
                               9
                                         1.     Injunctive/equitable relief in a manner to be determined by law;
                          10
                                         2.     An award of costs of suit, including attorneys’ fees, as permitted by law;
                          11

                          12 and

                          13             3.     Such other and further relief as this Court deems just and proper.
                          14
                                   Dated: March 14, 2024              W ALKUP , M ELODIA , K ELLY & S CHOENBERGER
                          15

                          16                                          K LINE + S PECTER

                          17

                          18                                          By:
                          19                                                MICHAEL A. KELLY
                                                                            RICHARD H. SCHOENBERGER
                          20                                                MATTHEW D. DAVIS
                                                                            ASHCON MINOIEFAR
                          21

                          22                                                SHANIN SPECTER
                                                                            ALEX VAN DYKE
                          23
                                                                            Attorneys for Plaintiffs
                          24

                          25

                          26

                          27

                          28
    LAW OFFICES OF
WALKUP, MELODIA, KELLY
  & SCHOENBERGER
                                                                              38
  A PROFESSIONAL CORPORATION
   650 CALIFORNIA STREET

                                                     COMPLAINT FOR INJUNCTIVE & EQUITABLE RELIEF
         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
